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     FOUNDATION OF NORTHERN CALIFORNIA                   IMMIGRANTS’ RIGHTS PROJECT
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     Attorneys for Plaintiff
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18
                                       UNITED STATES DISTRICT COURT
19                                    NORTHERN DISTRICT OF CALIFORNIA
                                          SAN FRANCISCO DIVISION
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21   Ilsa Saravia, as next friend for A.H., a            Case No. 3:17-cv-03615-VC
     minor, and on behalf of herself individually
22   and others similarly situated,                      Honorable Vince Chhabria

23                       Plaintiff,                      [PROPOSED] ORDER SHORTENING
                                                         BRIEFING SCHEDULE AND SETTING
24            v.                                         MOTION HEARING ON PLAINTIFF’S
                                                         MOTION FOR PRELIMINARY APPROVAL
25    William Barr, Attorney General, et al.,            OF CLASS SETTLEMENT

26                       Defendants.

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                                                                  [PROPOSED]ORDER SHORTENING BRIEFING
                                                    1.            SCHEDULE AND SETTING MOTION HEARING
                                                                             CASE NO. 3:17-CV-03615-VC
 1          WHEREAS, the Parties have reached a settlement in the above-captioned action;
 2          WHEREAS, Plaintiff intends to file a Motion for Preliminary Approval of Class Settlement no
 3   later than September 18, 2020;
 4
            WHEREAS, Defendants do not intend to oppose the Plaintiff’s Motion for Preliminary
 5   Approval;
 6
            WHEREAS, the parties agree that it would be most efficient to shorten the standard 35-day
 7   briefing schedule per L-R 7-2 and for the Court to hold a preliminary approval hearing on
 8   October 15, 2020;
 9          WHEREAS, counsel for Plaintiff has an existing obligation scheduled for October 22, 2020,
10
            NOW, THEREFORE, the parties respectfully request that the Court set the briefing schedule
11   and hearing date as follows:
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                September 18, 2020: Plaintiff to file Motion for Preliminary Approval of Class Settlement;
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                September 25, 2020: Defendants to file Notice of Non-Opposition;
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15              October 15, 2020 (or as early as the Court allows): Preliminary Approval on Plaintiff’s

16               Motion.

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                                                                   [PROPOSED]ORDER SHORTENING BRIEFING
                                                     2.            SCHEDULE AND SETTING MOTION HEARING
                                                                              CASE NO. 3:17-CV-03615-VC
 1
      Dated: September 17, 2020   COOLEY LLP
 2
                                  /s/ Martin S. Schenker
 3                                Martin S. Schenker
                                  Ashley S. Corkery
 4                                Evan G. Slovak

 5                                American Civil Liberties Union Foundation of
                                  Northern California
 6                                William S. Freeman
                                  Sean Riordan
 7
                                  ACLU Foundation Immigrants’ Rights Project
 8                                Stephen B. Kang

 9                                Law Offices of Holly S. Cooper
                                  Holly Cooper
10
                                  New York Civil Liberties Union Foundation
11                                Christopher Dunn
                                  Amy Belsher
12                                Jessica Perry

13                                Attorneys for Plaintiff

14

15   Dated: September 17, 2020    UNITED STATES DEPARTMENT OF JUSTICE

16                                /s/ Nicole M. Murley
                                  Nicole M. Murley
17                                Sarah B. Fabian
18                                Attorneys for Defendants
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                                                   [PROPOSED]ORDER SHORTENING BRIEFING
                                     3.            SCHEDULE AND SETTING MOTION HEARING
                                                              CASE NO. 3:17-CV-03615-VC
 1                                            ATTESTATION
 2          I hereby attest that concurrence in the filing of this document has been obtained from the

 3   Signatory of this document, pursuant to L.R. 5-1(i)(3).

 4                                                        /s/ Martin S. Schenker______________________
                                                              Martin S. Schenker
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28                                                 ORDER
                                                                   [PROPOSED]ORDER SHORTENING BRIEFING
                                                     4.            SCHEDULE AND SETTING MOTION HEARING
                                                                              CASE NO. 3:17-CV-03615-VC
